 Case: 4:20-cv-00854-PLC Doc. #: 29 Filed: 06/01/21 Page: 1 of 2 PageID #: 9554




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JOCELYN WATSON,                                   )
                                                  )
            Plaintiff,                            )
                                                  )
      vs.                                         ) Case No. 4:20-CV-854 PLC
                                                  )
ANDREW M. SAUL,                                   )
Commissioner of Social Security,                  )
                                                  )
            Defendant.                            )

                               MEMORANDUM AND ORDER


       This case is before the Court on Defendant Andrew Saul’s motion to reverse the decision

of the administrative law judge (ALJ) and remand the case to Defendant pursuant to sentence four

of section 205(g), 42 U.S.C. § 405(g). [ECF No. 27] Plaintiff Jocelyn Watson “states no

objection” to Defendant’s motion. [ECF No. 28]

       On June 26, 2020, Plaintiff filed a complaint seeking review of Defendant’s decision that

Plaintiff was not under a disability within the meaning of the Social Security Act. [ECF No. 1]

Defendant filed his answer and a transcript of the administrative proceedings. [ECF Nos. 13-16]

Plaintiff filed a brief in support of the complaint, as well as a statement of uncontroverted facts.

[ECF Nos. 22, 22-1]

       On May 28, 2021, Defendant filed the instant motion to reverse and remand the case for

further action under 42 U.S.C. § 405(g), which permits the Court to “enter, upon the pleadings and

transcript of the record, a judgment affirming, modifying, or reversing the decision of the

Commissioner of Social Security, with or without remanding the cause for a rehearing.” 42 U.S.C.

§ 405(g). Defendant states that, on remand, the “the Commissioner will further evaluate the
 Case: 4:20-cv-00854-PLC Doc. #: 29 Filed: 06/01/21 Page: 2 of 2 PageID #: 9555




medical opinion evidence in accordance with 20 C.F.R. §§ 404.1520c and 416.920c, evaluate the

effect of Plaintiff’s frequency of treatment on her residual functional capacity, offer the claimant

the opportunity for a hearing, [and] take further action to complete the administrative record

resolving the above issues[.]” [ECF No. 27]

        Based on the record, the Court grants Defendant’s unopposed motion to reverse and

remand this matter to Defendant for further proceedings pursuant to sentence four of 42 U.S.C. §

405(g). Accordingly,

        IT IS HEREBY ORDERED that Defendant’s unopposed motion to reverse and remand

[ECF No. 27] is GRANTED.

        A separate judgment in accordance with this Memorandum and Order is entered this same

date.




                                                     PATRICIA L. COHEN
                                                     UNITED STATES MAGISTRATE JUDGE


Dated this 1st day of June, 2021
